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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 MATTIE SPITZ, individually and on behalf of
 all others similarly situated,                                            JUDGMENT

                          Plaintiff,
        v.
                                                                           23-CV-7853 (PKC) (CLP)
CAINE & WEINER COMPANY, INC.,

                           Defendant.
---------------------------------------------------------------X
         A Memorandum and Order of the Honorable Pamela K. Chen, United States District

Judge, having been filed on January 5, 2024, dismissing this case for lack of subject matter

jurisdiction; it is

        ORDERED and ADJUDGED that this case is dismissed for lack of subject matter

jurisdiction.

Dated: Brooklyn, New York                                            Brenna B. Mahoney
       January 8, 2024                                               Clerk of Court

                                                               By:   /s/Jalitza Poveda
                                                                     Deputy Clerk
